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                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                              *
                                                      *
                      vs.                             *        Case No. 1:21-mj-00067 (RMM)
                                                      *
KASH KELLY,                                           *
         Defendant                                    *
                                                      *

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              CONSENT MOTION TO CONTINUE PRELIMINARY HEARING
                   AND SCHEDULE A CHANGE OF PLEA HEARING
               AND TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

        Defendant, Kash Kelly, by his undersigned counsel hereby respectfully moves this Honorable

Court to continue the Preliminary Hearing scheduled for May 24, 2022 and schedule a change of plea

hearing. AUSA Emory Cole consents to this request. Mr. Kelly also consents to the exclusion of

time under the Speedy Trial Act.

        1.        Mr. Kelly is charged by Criminal Complaint with two misdemeanor offenses arising

out of his alleged conduct at the United States Capitol on January 6, 2021. See Complaint, (ECF 1,

filed 1/15/21).

        2.        A Preliminary Hearing in this matter is scheduled for May 24, 2022.

        3.        The Government has tendered a plea agreement to Mr. Kelly, who wishes to have the

Court set the case in for a change of plea hearing.

        4.        Mr. Kelly is presently serving a ederal sentence in an unrelated case so that his

continued detention will not prejudice him as he will receive credit for the time he is serving.

        5.        A non-trial resolution of the case and tolling of the Speedy Trial is in the best interests

of Mr. Kelly and of the public and furthers the interests of justice. Accordingly, Mr. Kelly consents
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to the exclusion of Speedy Trial time until June 24, 2022 so that a change of plea hearing may e

scheduled.

       WHEREFORE, Mr. Kelly respectfully requests that the Court continue the Preliminary

Hearing scheduled for May 24, 2022 and schedule a change of plea hearing to a date no later than

June 24, 2022.

                                                    Respectfully submitted,

                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez
                                                    Bar No. MD 03366
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                                                    Highland, MD 20777
                                                    240-472-3391
                                                    chernan7@aol.com


                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the Consent Motion to Continue the Preliminary Hearing was
served this 23rd day of May, 2022 on all counsel of record via ECF.



                                                    /s/ Carmen D. Hernandez
                                                    Carmen D. Hernandez




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